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           Johnson & Johnson
           Your Collaborative Planning Guide

           August 30, 2017




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J&J Opportunities                                                            PageID: 11495



            Solutions                                          Benefits                      Estimated Savings          Member Impact




                                             Manufacturers make funds available to
 SaveonSP                                    assist patients with their share of the cost.
                                             $0 copay for enrolled J&J members.




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           SaveonSP Program




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